     Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 1 of 68



 1   David C. Kiernan (State Bar No. 215335)
     Craig E. Stewart (State Bar No. 129530)
 2   Paul C. Hines (State Bar No. 294428)
     JONES DAY
 3   555 California Street, 26th Floor
     San Francisco, CA 94104
 4   Telephone:     +1.415.626.3939
     Facsimile:     +1.415.875.5700
 5   Email:         dkiernan@jonesday.com
                    cestewart@jonesday.com
 6                  phines@jonesday.com
 7   Attorneys for Petitioner
     JONES DAY
 8

 9
                                 UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12

13
     JONES DAY,                                 Case No.
14
                           Petitioner,          DECLARATION OF CHRISTOPHER
15                                              THATCH IN SUPPORT OF JONES DAY’S
            v.                                  MOTION TO COMPEL COMPLIANCE
16                                              WITH ARBITRATION SUMMONS, JONES
     ORRICK HERRINGTON & SUTCLIFFE,             DAY’S MOTION TO SHORTEN TIME,
17   LLP; MICHAEL TORPEY; AND                   AND JONES DAY’S ADMINISTRATIVE
     MITCHELL ZUKLIE,                           MOTION TO SEAL
18
                       Respondents.
19

20

21

22

23                      REDACTED VERSION OF DOCUMENTS SOUGHT
                                    TO BE SEALED
24

25

26

27

28
                                                                   Declaration of C. Thatch
                                                                         Case No._______
      Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 2 of 68



 1            I, Christopher N. Thatch, declare as follows:
 2            1.     I am partner at Jones Day. I have personal knowledge of the matters set forth

 3   below and, if called and sworn as a witness, I could and would competently testify to the

 4   following facts:

 5            2.     Jones Day (or the “Firm”) is a general partnership engaged in the profession and

 6   practice of law, organized and existing under the laws of the State of Ohio with a place of

 7   business in the District of Columbia, located at 51 Louisiana Avenue, N.W., Washington, D.C.

 8   20001.

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                                    Declaration of C. Thatch
                                                      -1-                                 Case No._______
      Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 3 of 68



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22                                        On September 23, 2020 the Arbitrator issued a subpoena,
23   ordering Orrick to appear before the Arbitrator at a virtual hearing on October 22, 2020, and to
24   produce the documents identified in the subpoena at that time. Attached hereto as Exhibit C is a
25   true and correct copy of the subpoena issued by the Arbitrator to Orrick on September 23, 2020.
26          9.      Orrick accepted service of the subpoena on September 30, 2020. Attached hereto
27   as Exhibit D is an email dated September 30, 2020 from J. Ansbro to C. Thatch.
28
                                                                                   Declaration of C. Thatch
                                                    -2-                                  Case No._______
      Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 4 of 68



 1          10.     The subpoena invited Orrick to address any applications to quash or modify the
 2   subpoena to the Arbitrator, but Orrick made no such objections. Instead, two days before the
 3   scheduled hearing, Orrick communicated to Jones Day that it was unwilling to comply with the
 4   subpoena.
 5          11.     On November 25, 2020, Jones Day filed a Petition to Enforce an Arbitral
 6   Subpoena in the Superior Court of the District of Columbia. On February 5, 2021, Orrick moved
 7   to dismiss, arguing among other things that the superior court lacked personal jurisdiction over it
 8   and that, under the FAA, an arbitral summons can only be enforced in federal court.
 9          12.     On May 14, 2021, the D.C. Superior Court issued an order granting Orrick’s
10   motion to dismiss and denied Jones Day’s petition, finding that the court lacked personal
11   jurisdiction over Orrick in the District of Columbia. Attached hereto as Exhibit E is a true and
12   correct copy of the Superior Court for the District of Columbia’s May 14, 2021 order.
13

14

15

16

17

18

19

20          13.     Given that ruling, Jones Day requested that the Arbitrator issue a revised summons
21   requiring that Orrick appear before him at a hearing at a location within the Northern District of
22   California where Orrick’s headquarters are located. Jones Day also requested that summonses be
23   issued to Orrick partners Michael Torpey and Mitchell Zuklie. According to the Orrick website,
24   Mr. Zuklie is Orrick’s Chairman and Chief Executive Office, resident in the firm’s Silicon Valley
25   office, and Mr. Torpey is Orrick’s former Managing Partner and current Special Assistant to the
26   Chairman, resident in the firm’s San Francisco office.
27

28
                                                                                    Declaration of C. Thatch
                                                     -3-                                  Case No._______
      Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 5 of 68



 1

 2

 3

 4           14.    On June 16, 2021, the Arbitrator issued a new summons to Orrick directing Orrick
 5   to appear as a witness at a hearing before the Arbitrator to be held on July 26, 2021 in San Jose,
 6   California. The subpoena called for Orrick to bring to the hearing documents specified in
 7   Schedule A to the summons. Attached hereto as Exhibit F is a true and correct copy of the
 8   summons issued by the Arbitrator to Orrick dated June 16, 2021. Also on June 16, 2021, the
 9   Arbitrator issued summonses to Mr. Torpey and Mr. Zuklie calling for their appearance at the
10   July 26, 2021, hearing in San Jose and calling for them to bring with them documents specified in
11   Schedule A to those summonses. Attached hereto as Exhibit G is a true and correct copy of the
12   summons issued by the Arbitrator to Mr. Torpey dated June 16, 2021. Attached hereto as Exhibit
13   H is a true and correct copy of the summons issued by the Arbitrator to Mr. Zuklie dated June 16,
14   2021.
15           15.    In a letter dated July 15, 2021, Orrick’s general counsel, Christopher Vejnoska,
16   told Jones Day that none of the summons recipients would appear at the July 26, 2021 hearing.
17   Attached hereto as Exhibit I is a true and correct copy of the letter dated July 15, 2021, from C.
18   Vejnoska to C. Thatch. Mr. Vejnoska asserted that the summonses did not “comply with
19   applicable law” because the Federal Arbitration Act does “not authorize the arbitrator to summon
20   legal entities (like Orrick) to give testimony, nor compel attendance at hearings across the
21   country.” Ex. I at 1. According to Mr. Vejnoska, “[t]he seat of the arbitration does not travel
22   with the arbitrator; it is fixed by the arbitration agreement. In this case, Jones Day selected
23   Washington, D.C.” Id.
24           16.    On July 19, 2021, the Arbitrator issued a Scheduling Order in which, at Jones
25   Day’s request, he stated that he could be physically present in San Jose, California on September
26   13, 2021, to conduct a hearing to receive testimony and documents from the summons recipients.
27   Attached hereto as Exhibit J is a true and correct copy of the Arbitrator’s July 19, 2021
28
                                                                                      Declaration of C. Thatch
                                                      -4-                                   Case No._______
      Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 6 of 68



 1   Scheduling Order 5. The Arbitrator invited Jones Day to submit revised summonses for his
 2   signature reflecting the September 13, 2021 hearing date. Ex. J at 3.
 3          17.     As invited, on July 30, 2021, Jones Day requested that the Arbitrator issue new
 4   summonses to each of the recipients directing them to appear at the hearing on September 13,
 5   2021 and ordering them to bring with them the documents previously ordered. Jones Day is
 6   currently awaiting return of the signed summonses.
 7          18.
 8                                                 It is therefore important that Jones Day’s motion to
 9   compel be heard and resolved prior to the September 13, 2021 hearing date for Respondents’
10   testimony, to avoid disrupting the scheduled merits hearing, and to ensure Jones Day is able to
11   present the evidence from Respondents at that hearing. Respondents have been on notice for
12   many months both that Jones Day is requesting evidence from them and the nature of the
13   information Jones Day seeks, but they have refused to provide that information. Jones Day has
14   filed its motion and petition promptly following the Arbitrator’s scheduling of the September 13
15   hearing, but the timeframe for resolving the dispute with Respondents and obtaining their
16   evidence before the final merits hearing on September 20th is nonetheless tight. It is therefore
17   appropriate that Jones Day’s Motion to Compel should be heard on an accelerated timetable.
18          19.     On July 29, 2021, my Jones Day partner, Craig Stewart, contacted Mr. Vejnoska
19   via email to inform him that Jones Day was requesting a new hearing date of September 13, 2021,
20   and that Jones Day intended to file this motion if the summons recipients refused to appear on
21   that date. Mr. Vejnoska responded on July 30 that the recipients would not appear, and further
22   asserted that this Court lacks subject-matter jurisdiction to entertain any motion to compel.
23   Mr. Stewart responded that same day, explaining the basis for subject-matter jurisdiction in this
24   Court. Mr. Stewart also sought the summons recipients’ agreement to shorten the time for
25   briefing and hearing of Jones Day’s anticipated motion to compel. Mr. Vejnoska declined to
26   agree. Attached hereto as Exhibit L is a true and correct of the email exchange between Mr.
27   Stewart and Mr. Vejnoska.
28
                                                                                    Declaration of C. Thatch
                                                     -5-                                  Case No._______
      Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 7 of 68



 1          20.
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15          21.     In the action Jones Day filed in the Superior Court of the District of Columbia to
16   enforce the previous subpoena to Orrick, Jones Day sought and was granted an order sealing the
17   materials for which it seeks sealing in this case. Attached hereto as Exhibit K is the Superior
18   Court for the District of Columbia’s Order Granting Consent Motion to File Under Seal dated
19   February 1, 2021.
20          I declare under penalty of perjury under the laws of the state of California that the
21   foregoing is true and correct. Executed at Washington, D.C., on July 30, 2021.
22

23
                                                  _____________________________________
24                                                Christopher N. Thatch
25

26

27

28
                                                                                     Declaration of C. Thatch
                                                     -6-                                   Case No._______
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 8 of 68




                      EXHIBIT A
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 9 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 10 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 11 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 12 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 13 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 14 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 15 of 68




                      EXHIBIT B
                  Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 16 of 68




JAMS Comprehensive Arbitration Rules & Procedures
Effective June 1, 2021
We understand that there is a lot on the line in arbitration. We know attorneys count on JAMS to provide highly
skilled arbitrators who use JAMS Managed Arbitration Process to save time and money. JAMS offers efficiency,
speed, and results.
If another arbitration provider was written into your contract, call an experienced JAM S Case M anager to
discuss having your case administered by JAMS.
A summary of the June 1, 2021 revisions may be found here.

Related Links
      Arbitration Services at JAM S
      Submit a Case



Table of Contents
      Rule 1. Scope of Rules
      Rule 2. Party Self-Determination and Emergency Relief Procedures
      Rule 3. Amendment of Rules
      Rule 4. Conflict with Law
      Rule 5. Commencing an Arbitration
      Rule 6. Preliminary and Administrative M atters
      Rule 7. Number and Neutrality of Arbitrators; Appointment and Authority of Chairperson
      Rule 8. Service
      Rule 9. Notice of Claims
      Rule 10. Changes of Claims
      Rule 11. Interpretation of Rules and Jurisdictional Challenges
      Rule 12. Representation
      Rule 13. Withdrawal from Arbitration
      Rule 14. Ex Parte Communications
      Rule 15. Arbitrator Selection, Disclosures and Replacement
      Rule 16. Preliminary Conference
      Rule 16.1. Application of Expedited Procedures


                     Comprehensive Arbitration Rules and Proc edures | JAMS Mediation, Arbitration, ADR Servic es
                                     https://www.jamsadr.c om/rules-c omprehensive-arbitration/
                                                            Page 1 of 16
                  Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 17 of 68
      Rule 16.2. Where Expedited Procedures Are Applicable
      Rule 17. Exchange of Information
      Rule 18. Summary Disposition of a Claim or Issue
      Rule 19. Scheduling and Location of Hearing
      Rule 20. Pre-Hearing Submissions
      Rule 21. Securing Witnesses and Documents for the Arbitration Hearing
      Rule 22. The Arbitration Hearing
      Rule 23. Waiver of Hearing
      Rule 24. Awards
      Rule 25. Enforcement of the Award
      Rule 26. Confidentiality and Privacy
      Rule 27. Waiver
      Rule 28. Settlement and Consent Award
      Rule 29. Sanctions
      Rule 30. Disqualification of the Arbitrator as a Witness or Party and Exclusion of Liability
      Rule 31. Fees
      Rule 32. Bracketed (or High-Low) Arbitration Option
      Rule 33. Final Offer (or Baseball) Arbitration Option
      Rule 34. Optional Arbitration Appeal Procedure


Rule 1. Scope of Rules
(a) The JAMS Comprehensive Arbitration Rules and Procedures ("Rules") govern binding Arbitrations of disputes or
claims that are administered by JAMS and in which the Parties agree to use these Rules or, in the absence of such
agreement, any disputed claim or counterclaim that exceeds $250,000, not including interest or attorneys' fees,
unless other Rules are prescribed.

(b) The Parties shall be deemed to have made these Rules a part of their Arbitration Agreement ("Agreement")
whenever they have provided for Arbitration by JAMS under its Comprehensive Rules or for Arbitration by JAMS
without specifying any particular JAMS Rules and the disputes or claims meet the criteria of the first paragraph of
this Rule.

(c) The authority and duties of JAMS as prescribed in the Agreement of the Parties and in these Rules shall be
carried out by the JAMS National Arbitration Committee ("NAC") or the office of JAMS General Counsel or their
designees.

(d) JAMS may, in its discretion, assign the administration of an Arbitration to any of its Resolution Centers.

(e) The term "Party" as used in these Rules includes Parties to the Arbitration and their counsel or representatives.

(f) "Electronic filing" (e-filing) means the electronic transmission of documents to JAMS for the purpose of filing via
the Internet. "Electronic service" (e-service) means the electronic transmission of documents to a Party, attorney or
representative under these Rules.

Rule 2. Party Self-Determination and Emergency Relief Procedures

                      Comprehensive Arbitration Rules and Proc edures | JAMS Mediation, Arbitration, ADR Servic es
                                      https://www.jamsadr.c om/rules-c omprehensive-arbitration/
                                                             Page 2 of 16
                   Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 18 of 68
Rule 19. Scheduling and Location of Hearing
(a) The Arbitrator, after consulting with the Parties that have appeared, shall determine the date, time and location
of the Hearing. The Arbitrator and the Parties shall attempt to schedule consecutive Hearing days if more than one
day is necessary.
(b) If a Party has failed to participate in the Arbitration process, and the Arbitrator reasonably believes that the
Party will not participate in the Hearing, the Arbitrator may set the Hearing without consulting with that Party. The
non-participating Party shall be served with a Notice of Hearing at least thirty (30) calendar days prior to the
scheduled date, unless the law of the relevant jurisdiction allows for, or the Parties have agreed to, shorter notice.
(c) The Arbitrator, in order to hear a third-party witness, or for the convenience of the Parties or the witnesses, may
conduct the Hearing at any location. Any JAMS Resolution Center may be designated a Hearing location for
purposes of the issuance of a subpoena or subpoena duces tecum to a third-party witness.

Rule 20. Pre-Hearing Submissions
(a) Except as set forth in any scheduling order that may be adopted, at least fourteen (14) calendar days before
the Arbitration Hearing, the Parties shall file with JAMS and serve and exchange (1) a list of the witnesses they
intend to call, including any experts; (2) a short description of the anticipated testimony of each such witness and
an estimate of the length of the witness' direct testimony; (3) any written expert reports that may be introduced at
the Arbitration Hearing; and (4) a list of all exhibits intended to be used at the Hearing. The Parties should
exchange with each other copies of any such exhibits to the extent that they have not been previously exchanged.
The Parties should pre-mark exhibits and shall attempt to resolve any disputes regarding the admissibility of
exhibits prior to the Hearing.
(b) The Arbitrator may require that each Party submit a concise written statement of position, including summaries
of the facts and evidence a Party intends to present, discussion of the applicable law and the basis for the
requested Award or denial of relief sought. The statements, which may be in the form of a letter, shall be filed with
JAMS and served upon the other Parties at least seven (7) calendar days before the Hearing date. Rebuttal
statements or other pre-Hearing written submissions may be permitted or required at the discretion of the Arbitrator.

Rule 21. Securing Witnesses and Documents for the Arbitration Hearing
At the written request of a Party, all other Parties shall produce for the Arbitration Hearing all specified witnesses in
their employ or under their control without need of subpoena. The Arbitrator may issue subpoenas for the
attendance of witnesses or the production of documents either prior to or at the Hearing pursuant to this Rule or
Rule 19(c). The subpoena or subpoena duces tecum shall be issued in accordance with the applicable law. Pre-
issued subpoenas may be used in jurisdictions that permit them. In the event a Party or a subpoenaed person
objects to the production of a witness or other evidence, the Party or subpoenaed person may file an objection with
the Arbitrator, who shall promptly rule on the objection, weighing both the burden on the producing Party and
witness and the need of the proponent for the witness or other evidence.

Rule 22. The Arbitration Hearing
(a) The Arbitrator will ordinarily conduct the Arbitration Hearing in the manner set forth in these Rules. The
Arbitrator may vary these procedures if it is determined to be reasonable and appropriate to do so.
(b) The Arbitrator shall determine the order of proof, which will generally be similar to that of a court trial.
(c) The Arbitrator shall require witnesses to testify under oath if requested by any Party, or otherwise at the
discretion of the Arbitrator.
(d) Strict conformity to the rules of evidence is not required, except that the Arbitrator shall apply applicable law
relating to privileges and work product. The Arbitrator shall consider evidence that he or she finds relevant and
material to the dispute, giving the evidence such weight as is appropriate. The Arbitrator may be guided in that
determination by principles contained in the Federal Rules of Evidence or any other applicable rules of evidence.
The Arbitrator may limit testimony to exclude evidence that would be immaterial or unduly repetitive, provided that
all Parties are afforded the opportunity to present material and relevant evidence.




                       Comprehensive Arbitration Rules and Proc edures | JAMS Mediation, Arbitration, ADR Servic es
                                       https://www.jamsadr.c om/rules-c omprehensive-arbitration/
                                                             Page 11 of 16
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 19 of 68




                      EXHIBIT C
      Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 20 of 68




                                       CONFIDENTIAL
                                   JAMS ARBITRATION

JONES DAY,

                Claimant,
         V.




                Respondent.

                        ARBITRATION SUBPOENA TO PRESENT
                            DOCUMENTARY EVIDENCE

To:     Orrick
        The Orrick Building
        405 Howard Street
        San Francisco, CA 94105-2669
        United States
        Ph: 4 15.773.5700
        or its registered agent

        By the authority conferred on the undersigned Arbitrator and pursuant to applicable law,

you are hereby commanded to appear before the Arbitrator in the above-referenced matter on

October 22, 2020 via Zoom or comparable video technology to produce the documents identified

in Schedule A annexed to this Subpoena.

        You may address questions concerning this Subpoena to the Requesting Attorneys

identified below. Failure by any person without adequate excuse to obey a subpoena served upon

that person may be deemed a contempt of the court from which the subpoena is issued or a district

court in the county in which the subpoena is served, and may be punished by fine or confinement,

or both. A court of competent jurisdiction, upon petition, may also compel your compliance. Any

application by you to quash or modify this Subpoena, in whole or in part, may be addressed to the

Arbitrator via email at tmenendez@jamsadr.com, with copies to all counsel identified below.




                                                1
   Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 21 of 68




Name and Contact Information for Requesting Attorneys:

Isl Michael R. Shumaker
Michael R. Shumaker
Caroline Edsall Littleton
Christopher N . Thatch
JONES DAY
51 Louisiana A venue, NW
Washington, DC 20001
Ph: 202.879.3939
Fx: 202.626.1700
mrshumaker@jonesday.com
celittleton@jonesday.com
cthatch@jonesday.com
Counsel for Claimant Jones Day




      SO ORDERED.

 Dated:   .S ~ F[, 2 3, 20   2, O            BY THE ARBITRATOR


                                          ~&.n            ~u.etf- J~~~
                                             Hon. Benson Everett Legg   (i~fff'J'-
                                             JAMS




                                         2
   Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 22 of 68




                                        SCHEDULE A

                           DEFINITIONS AND INSTRUCTIONS

       Docwnents may be produced in hard-copy or electronic form, but must be clear and legible

and appropriate metadata- including, at a minimum, date, time, sender, recipient- must be

included. Documents should be provided on October 22, 2020 to the Requesting Attorneys

identified in the Subpoena via electronic transmission or any other method upon agreement of the

Requesting Attorneys.

       "You" and its variants refers to you, Orrick Herrington & Sutcliffe LLP, Orrick Rambaud

Martel SCP, and any person or entity acting on behalf of Orrick Herrington & Sutcliffe LLP or

Orrick Rambaud Martel SCP, including any of its attorneys, employees, agents, and affiliates, and

including but not limited to the following persons:




        The terms "Documents" and "Communications" should be read in their broadest senses

to include, without limitation, emails, text messages, communications through messaging

applications (e.g., WhatsApp, SnapChat, Skype, etc.), phone records, voicemails, handwritten

notes, and other hard-copy docwnents. These requests encompass all documents and devices in

Your possession, custody, or control, even if those documents or devices are in the possession of

third parties.

        The term "Employment" means any kind of professional relationship, including

employment, equity partnership, non-equity partnership, agency, or other affiliation.




                                                1
   Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 23 of 68




       To the extent You withhold any document in part or in whole on the basis of any asserted

privilege or other protection from disclosure, provide a description of each document so withheld

consistent with Fed. R. Civ. P. 26(b)(5)(A)(ii).

                                 DOCUMENTS REQUESTED




                                                   2
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 24 of 68




                                3
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 25 of 68




                      EXHIBIT D
                 Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 26 of 68




From:                             Ansbro, John <jansbro@orrick.com>
Sent:                             Wednesday, September 30, 2020 10:14 AM
To:                               Thatch, Christopher N.; Shumaker, Michael R.; Edsall Littleton, Caroline
Cc:                               Vejnoska, Christopher
Subject:                          RE: Subpoena from Jones Day


** External mail **

Chris:

Chris Vejnoska forwarded to me your email below and attached subpoena. I will be representing Orrick Herrington &
Sutcliffe LLP in this matter, so please direct all future communications to me as counsel, copying Chris as General
Counsel.

We will accept service of the subpoena on behalf of Orrick Herrington & Sutcliffe LLP, and for no other person or entity,
as if the subpoena were personally served upon our principal office at in San Francisco and reserve all other rights.

John

John Ansbro
Partner

Orrick
New York ®
T +1-212 506 3741
jansbro@orrick.com


    0
ornck

From: Thatch, Christopher N. <cthatch@JonesDay.com>
Sent: Tuesday, September 29, 2020 9:57 AM
To: Saklad, Laura < lsaklad@orrick.com>; Vejnoska, Christopher <cvejnoska@orrick.com>; Low, Larry < llow@orrick.com>
Cc: Shumaker, Michael R. < mrshumaker@JonesDay.com>; Edsall Littleton, Caroline <celittleton@jonesday.com>
Subject: Subpoena from Jones Day

Ms. Saklad, Mr. Vejnoska. and Mr. Low:

Subpoena attached. Please let us know if you are willing to accept service.

Best,

Christopher (Chris) N. Thatch (bio)
Partner
JONES DAY® - One Finn Worldwide 5M
51 Louisiana Ave., NW
Washington, DC 20001-2113


                                                             1
                     Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 27 of 68
Office +1.202.879.4658 / 4.4658
cthatch@jonesday.com

***This e-mail (including any attachments) may contain information that is private, confidential, or protected by
attorney-client or other privilege. If you received this e-mail in error, please delete it from your system without copying
it and notify sender by reply e-mail, so that our records can be corrected.***



NOTICE TO RECIPIENT I This e-mail 1s meant for only the intended recipient of the transmission , and may be a communication privileged by law If you
received this e-mail m error, any review. use. dissemination, distribution, or copying of this e-mail is strictly prohibited. Please notify us immediately of
the error by return e-mail and please delete this message from your system. Thank you in advance for your cooperation.


For more information about Orrick, please visit httpllwww.orrickcom.


In the course of our business relationship, we may collect, store and transfer information about you . Please see our privacy policy at
https://www omck.com/Privacy-Policy to learn about how we use this information.




                                                                                2
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 28 of 68




                      EXHIBIT E
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 29 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 30 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 31 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 32 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 33 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 34 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 35 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 36 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 37 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 38 of 68
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 39 of 68




                      EXHIBIT F
       Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 40 of 68




                                        CONFIDENTIAL
                                     JAMS ARBITRATION

 JONES DAY,

                Claimant,
        V.




                Respondent.

               ARBITRATION SUMMONS TO TESTIFY AND PRESENT
             DOCUMENTARY EVIDENCE AT AN ARBITRATION HEARING

To:    Orrick Herrington & Sutcliffe LLP
       The Orrick Building
       405 Howard Street
       San Francisco, CA 94105-2669
       United States
       Ph: (415) 773-5700

       Or its registered agent

       By the authority conferred on the undersigned arbitrator by Section 7 of the United States

Arbitration Act (9 U.S.C. § 7), Orrick Herrington & Sutcliffe LLP ("Orrick") is hereby

SUMMONED to attend as a witness at a hearing before the undersigned arbitrator to be held on

July 26, 2021 at 10:00 am at the JAMS facility in Silicon Valley, located at 160 W. Santa Clara

St., Suite 1600, San Jose, CA 95113, and to bring to the hearing the documents identified in

Schedule A annexed to this SUMMONS.

       Provided that this SUMMONS has been served in the same manner as is required of a

judicial subpoena under Rule 45 of the Federal Rules of Civil Procedure, then if Orrick shall refuse

or neglect to obey this SUMMONS, upon petition the United States District Court for the Northern

District of California may compel Orrick's attendance, or punish Orrick for contempt in the same




                                                 1
       Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 41 of 68




manner provided by law for securing the attendance of witnesses or their punishment for neglect

or refusal to attend in the courts of the United States.

        Questions concerning this SUMMONS may be addressed to the attorneys or the Case

Manager identified below.

       Any application by Orrick to quash or modify this SUMMONS in whole or in part should

be addressed to the arbitrator in writing and sent via the Case Manager, with copies to counsel for

the parties, except that a motion upon the ground that the SUMMONS is unenforceable under

Section 7 of the U.S. Arbitration Act may also be addressed to the United States District Court for

the Northern District of California.

       The attorneys for the Claimant in this arbitration are:

               Michael R. Shumaker
               Caroline Edsall Littleton
               Christopher N. Thatch
               JONES DAY
               51 Louisiana A venue, NW
               Washington, DC 20001
               Ph: 202.879.3939
               Fx: 202.626.1700
               mrshumaker@j onesday .com
               celittleton@jonesday.com
               cthatch@j onesday .com

       The attorneys for the Respondent in this arbitration are:




                                                   2
    Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 42 of 68




    The Case Manager is:

          Teresa L. Menendez
          Senior Case Manager
          JAMS - Local Solutions. Global Reach.TM
          1155 F St., NW, #1150
          Washington, DC 20004
          Ph: 202-533-2017
          Fx: 202-942-9186
          TMenendez@jamsadr.com

    SO ORDERED.

Dated:Ji"f.£   It; ?OZ/                    BY THE ARBITRATOR



                                            on. Benson Everett
                                           JAMS




                                       3
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 43 of 68




                          SCHEDULE A

                   DOCUMENTS REQUESTED




                               1
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 44 of 68




                      EXHIBIT G
       Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 45 of 68




                                       CONFIDENTIAL
                                    JAMS ARBITRATION

 JONES DAY,

                Claimant,
        V.




                Respondent.

               ARBITRATION SUMMONS TO TESTIFY AND PRESENT
             DOCUMENTARY EVIDENCE AT AN ARBITRATION HEARING

To:    Michael Torpey
       The Orrick Building
       405 Howard Street
       San Francisco, CA 94105-2669
       United States
       Ph: (415) 773-5932

       Michael Torpey
       46 Barolo
       Rancho Mirage, CA 92270

       By the authority conferred on the undersigned arbitrator by Section 7 of the United States

Arbitration Act (9 U.S.C. § 7), you are hereby SUMMONED to attend as a witness at a hearing

before the undersigned arbitrator to be held on July 26, 2021 at 10:00 am at the JAMS facility in

Silicon Valley, located at 160 W. Santa Clara St., Suite 1600, San Jose, CA 95113, and to bring

with you to the hearing the documents identified in Schedule A annexed to this SUMMONS.

       Provided that this SUMMONS has been served upon you in the same manner as is required

of a judicial subpoena under Rule 45 of the Federal Rules of Civil Procedure, then if you shall

refuse or neglect to obey this SUMMONS, upon petition the United States District Court for the

Northern District of California may compel your attendance, or punish you for contempt in the
        Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 46 of 68




same manner provided by law for securing the attendance of witnesses or their punishment for

neglect or refusal to attend in the courts of the United States.

       You may address questions concerning this SUMMONS to the attorneys or the Case

Manager identified below.

       Any application by you to quash or modify this SUMMONS in whole or in part should be

addressed to the arbitrator in writing and sent via the Case Manager, with copies to counsel for the

parties, except that a motion upon the ground that the SUMMONS is unenforceable under Section

7 of the U.S. Arbitration Act may also be addressed to the United States District Court for the

Northern District of California.

       The attorneys for the Claimant in this arbitration are:

               Michael R. Shumaker
               Caroline Edsall Littleton
               Christopher N. Thatch
               JONES DAY
               51 Louisiana A venue, NW
               Washington, DC 20001
               Ph: 202.879.3939
               Fx: 202.626.1700
               mrshumaker@jonesdav.com
               celittleton@jonesdav.com
               cthatch@jonesdav.com

       The attorneys for the Respondent in this arbitration are:




                                                  2
    Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 47 of 68




    The Case Manager is:

          Teresa L. Menendez
          Senior Case Manager
          JAMS - Local Solutions. Global Reach.TM
          1155 F St., NW, #1150
          Washington, DC 20004
          Ph: 202-533-2017
          Fx: 202-942-9186
          TMenendez@jamsadr.com


    SO ORDERED.

Dated1ll\,V.L   I~ 20 L/
                  1
                  t
                                           BY THE ARBITRATOR


                                     ~d']                 .
                                           Hon. Benson Everett Legg (
                                           JAMS




                                       3
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 48 of 68




                          SCHEDULE A

                   DOCUMENTS REQUESTED




                               1
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 49 of 68




                      EXHIBIT H
       Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 50 of 68




                                       CONFIDENTIAL
                                    JAMS ARBITRATION

 JONES DAY,

                Claimant,
        V.




                Respondent.

               ARBITRATION SUMMONS TO TESTIFY AND PRESENT
             DOCUMENTARY EVIDENCE AT AN ARBITRATION HEARING

To:    Mitchell Zuk.lie
       Orrick Herrington & Sutcliffe LLP
       1000 Marsh Road
       Menlo Park, CA 94025-1015
       United States
       Ph: (650) 614-7649

       Mitchell Zuk.lie
       18 Valley Oak Street
       Portola Valley, CA 94028

       By the authority conferred on the undersigned arbitrator by Section 7 of the United States

Arbitration Act (9 U.S .C. § 7), you are hereby SUMMONED to attend as a witness at a hearing

before the undersigned arbitrator to be held on July 26, 2021 at 10:00 am at the JAMS facility in

Silicon Valley, located at 160 W. Santa Clara St., Suite 1600, San Jose, CA 95113, and to bring

with you to the hearing the documents identified in Schedule A annexed to this SUMMONS.

       Provided that this SUMMONS has been served upon you in the same manner as is required

of a judicial subpoena under Rule 45 of the Federal Rules of Civil Procedure, then if you shall

refuse or neglect to obey this SUMMONS, upon petition the United States District Court for the

N orthem District of California may compel your attendance, or punish you for contempt in the




                                               1
       Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 51 of 68




same manner provided by law for securing the attendance of witnesses or their punishment for

neglect or refusal to attend in the courts of the United States.

       You may address questions concerning this SUMMONS to the attorneys or the Case

Manager identified below.

       Any application by you to quash or modify this SUMMONS in whole or in part should be

addressed to the arbitrator in writing and sent via the Case Manager, with copies to counsel for the

parties, except that a motion upon the ground that the SUMMONS is unenforceable under Section

7 of the U.S. Arbitration Act may also be addressed to the United States District Court for the

Northern District of California.

       The attorneys for the Claimant in this arbitration are:

               Michael R. Shumaker
               Caroline Edsall Littleton
               Christopher N. Thatch
               JONES DAY
               51 Louisiana Avenue, NW
               Washington, DC 20001
               Ph: 202.879.3939
               Fx: 202.626.1700
               mrshumaker@jonesdav.com
               celittleton@jonesday.com
               cthatch@jonesdav.com

       The attorneys for the Respondent in this arbitration are:




                                                  2
     Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 52 of 68




     The Case Manager is:

              Teresa L. Menendez
              Senior Case Manager
              JAMS - Local Solutions. Global Reach.TM
              1155 F St., NW, #1150
              Washington, DC 20004
              Ph: 202-533-2017
              Fx: 202-942-9186
              TMenendez@jamsadr.com


     SO ORDERED.

Dated::ru
         .
             /JJ.   I&1 20'2J
                      I
                                               BY THE ARBITRATOR



                                               Hon. Benson Everett Legg (
                                               JAMS




                                           3
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 53 of 68




                          SCHEDULE A

                   DOCUMENTS REQUESTED




                               1
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 54 of 68




                      EXHIBIT I
       Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 55 of 68




July 15, 2021
                                                                             Orrick, Herrington & Sutcliffe LLP
                                                                             The Orrick Building
                                                                             405 Howard Street
By Email                                                                     San Francisco, CA 94105-2669
                                                                             +1 415 773 5700

Christopher N. Thatch                                                        orrick.com

Jones Day
51 Louisiana Avenue, N.W.                                                    Christopher Vejnoska
Washington, D.C. 20001
                                                                             E cvejnoska@orrick.com
cthatch@JonesDay.com                                                         D +1 415 773 5916
                                                                             F +1 415 773 5759


       Re: Jones Day v.

Dear Chris:

       I write on behalf of non-parties Orrick, Herrington & Sutcliffe LLP, Michael Torpey, and
Mitchell Zuklie (the “Recipients”), regarding the Arbitration Summons to Testify and Present
Documentary Evidence at an Arbitration Hearing in the above-captioned arbitration (the
“Summonses”).

        We have reviewed the Summonses and determined that they do not comply with the
applicable law. As you know, Jones Day contracted for arbitration governed by the Federal
Arbitration Act. When it did so, Jones Day limited the authority of any arbitrator selected under
that agreement with respect to third-party evidence. The authority granted by the FAA over
third-party witnesses does not extend to the Summonses. Jones Day’s choice did not authorize
the arbitrator to summon legal entities (like Orrick) to give testimony, nor compel attendance at
hearings across the country. The seat of the arbitration does not travel with the arbitrator; it is
fixed by the arbitration agreement. In this case, Jones Day selected Washington, D.C.

       The Recipients are not parties to the                      agreement and did not choose
those constraints. Jones Day’s choice of law “defines the powers bestowed upon the arbitrator,”
Jones Day v. Orrick, Herrington & Sutcliff LLP, 2020 CA 004980 2 (D.C. Super. Ct. May 14,
2021) (enclosed), and those powers do not encompass the Summonses that Jones Day requested.
As the Court observed, Jones Day could have chosen different law and bestowed different
powers on its arbitrator. But having made that choice—with all the benefits it desired at the
outset when it drafted its partnership agreement—Jones Day cannot double-back for more
expansive powers now.
       Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 56 of 68




      The Recipients respectfully decline to appear at the hearing on July 26, 2021.

                                                          Sincerely,

                                                           /s/ L. Christopher Vejnoska
                                                          L. Christopher Vejnoska
                                                          General Counsel
                                                          Orrick, Herrington & Sutcliffe LLP



cc:




Enclosure
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 57 of 68




                      EXHIBIT J
       Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 58 of 68


                                    JAMS ARBITRATION
                             Benson Everett Legg, JAMS Arbitrator


JONES DAY                                            *

                                                     *
               Claimant,
                                                     *
       v.
                                                     *

                                                     *

                                                     *
               Respondent.
                                                     *

*      *       *       *       *      *       *      *       *       *       *      *       *

                                      SCHEDULING ORDER 5
                                          July 19, 2021


       Claimant is Jones Day. Respondent is                      .

       On July 16, 2021, the Arbitrator held a hearing (via Zoom) to address the subpoena

issued to Orrick Herrington & Sutcliff LLP. The subpoena, issued pursuant to Section 7 of the

federal Arbitration Act (9 U.S.C. Section 7), directed Orrick to attend as a witness at a hearing

before the Arbitrator on July 26, 2021 at 10:00 am at a location in San Jose, California and

produce those documents described in Schedule A thereto.

       The venue of this arbitration is the District of Columbia, not California. The subpoena

requiring production in California was necessitated by an Order of April 15, 2021 issued by the

Superior Court of the District of Columbia (Irving, J.). The Order denied Jones Day’s Petition to

Enforce Arbitral Subpoena that the firm filed on November 25, 2020. The court ruled that

personal jurisdiction over Orrick, a law firm headquartered in California, was lacking in

Washington. Although Orrick employs attorneys in the District of Columbia and is licensed to
        Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 59 of 68


do business there, the court found that Orrick, an international law firm with offices within the

United States and across the globe, “’can scarcely be deemed at home in all of [these office

locations].’”[internal citation omitted]

       Jones Day decided not to appeal the Superior Court’s order. Instead, the firm requested

me to issue a new subpoena returnable on July 26, 2021 in San Jose, California. I issued the

subpoena, which Jones Day served on Orrick. In a letter to Mr. Thatch dated July 15, 2021,

Orrick, through L. Christopher Vejnoska, General Counsel, gave notice that it was declining to

appear at the hearing on July 26, 2021. Although the letter speaks for itself, Orrick takes the

position that the Arbitrator is not authorized to “compel attendance at hearings across the

country.” Mr. Vejnoska wrote: “The seat of the arbitration does not travel with the arbitrator;

it is fixed by the arbitration agreement. In this case, Jones Day selected Washington, D.C.”

       Orrick’s position presents Jones Day with a Catch 22. Orrick posits that personal

jurisdiction over it is lacking in Washington, D.C. Orrick also posits that the FAA authorizes the

Arbitrator to compel Orrick’s attendance only in Washington, D.C.

       Complicating the situation is the fact that I am scheduled to begin five consecutive

weeks of radiation therapy to combat a sarcoma. The treatments will take place Mondays

through Fridays beginning July 23, 2021 and ending on August 27, 2021. I cannot travel to

California until the treatments end. I can, however, hold the hearing by Zoom any time. Under

such an arrangement, Orrick would be subpoenaed to produce documents at a physical

location in California. I would be “present” at the hearing by an audio/visual link. I would be

able to see counsel, hear counsel, administer the oath, and inspect documents.

       Although Orrick has not taken such a position, Jones Day anticipates that Orrick would

raise the arbitrator’s bodily absence at a hearing in California as a ground for objecting to the

                                                 2
        Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 60 of 68


subpoena. Jones Day, therefore, requested a date when I could be bodily present in California.

I chose September 13, 2021. Jones Day may submit for my signature subpoenas returnable on

that date at a time and place to be coordinated with opposing counsel and JAMS.

       The merits hearing is scheduled for September 20, 2021 at the JAMS Resolution Center

in Washington, D.C. I have not been asked to postpone the hearing date. Given the length of

time that this arbitration has been pending, the time spent thus far on the unsuccessful effort

to subpoena Orrick’s documents, and the expectation that Orrick will not produce documents

until it has exhausted all avenues of resistance, I am disinclined to postpone the hearing date.

       Jones Day has several litigation options with respect to Orrick, including (i) an appeal of

Judge Irving’s ruling, (ii) a petition in California federal court to enforce the subpoena

returnable on July 26, 2021, and (iii) waiting until September 13, 2021 to see if Orrick appears

with responsive documents. I make no suggestion that Jones Day pursue any of these, or any

other, options. Decisions concerning litigation strategy are the firm’s to make.

       Counsel advised me that they have agreed upon an arbitration schedule leading up to

the September 20, 2021 merits hearing date. Counsel shall submit the schedule to me by

Friday, July 23, 2021. Counsel shall meet and confer and advise me by Friday, July 23, 2021 of

any other matters that require resolution at this time.

       The above is so Ordered this 19th day of July 2021.



                                                             Benson Everett Legg
                                                      Judge Benson Everett Legg (ret.)




                                                  3
           Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 61 of 68




                                     PROOF OF SERVICE BY E-Mail

                                       Re: Jones Day /
                                         Reference No.


       I, Teresa Menendez, not a party to the within action, hereby declare that on July 19, 2021, I served the

attached Scheduling Order 5 on the parties in the within action by electronic mail at Washington, DISTRICT

OF COLUMBIA, addressed as follows:

Michael R. Shumaker Esq.
Caroline E. Littleton Esq.
Christopher N. Thatch Esq.
Jones Day
51 Louisiana Avenue NW
Washington, DC 20001
Phone: 202-879-3939
mrshumaker@jonesday.com
celittleton@jonesday.com
cthatch@jonesday.com
   Parties Represented:
   Jones Day




       I declare under penalty of perjury the foregoing to be true and correct. Executed at Washington,

DISTRICT OF COLUMBIA on July 19, 2021.


  /s/
Teresa Menendez
JAMS
tmenendez@jamsadr.com
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 62 of 68




                      EXHIBIT K
          Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 63 of 68
                                                                      Filed
                                                                                        D.C. Superior Court
                                                                                        02/02/2021 16:13PM
                                                                                        Clerk of the Court

              IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                CIVIL DIVISION

 JONES DAY,

                         Petitioner,
                                                     Case No. 2020 CA 004980 2
             V.
                                                     Judge-in-Chambers
 ORRICK, HERRINGTON & SUTCLIFFE
 LLP,

                         Respondent.


             ORDER GRANTING CONSENT MOTION TO FILE UNDER SEAL

          On December 16, 2021, Petitioner Jones Day filed a Consent Motion for Leave to File

Under Seal their Petition to Enforce an Arbitral Subpoena and several attached exhibits. Upon

consideration of the motion, it is this 1st day of February 2021,

          ORDERED that Petitioner's Consent Motion for Leave to File Under Seal is

GRANTED, and it is further

          ORDERED that un-redacted versions of Petitioner's Petition to Enforce an Arbitral

Subpoena, Exhibits A, C, and E thereto, and the Consent Motion for Leave to File Under Seal

shall be filed under seal, and it is further

          ORDERED that any objection and accompanying attachments by Respondent to

Petitioner's Petition to Enforce an Arbitral Subpoena shall also be filed under seal, and it is

further

          ORDERED that petitioner shall hand-deliver the documents it seeks to seal in paper

form to the Civil Clerk's office for filing once the Court returns to normal operations. See D.C.
        Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 64 of 68




Super Ct Civ R 5-III(a)(2) ("Any subsequent documents allowed to be filed under seal must be

filed in paper with the clerk's office.").



                                                    Florence Pan, Associate Judge
                                                    Sitting in Judge-in-Chambers




Copies via e-service to:

Michael Shumaker
Christopher Thatch
Caroline Littleton

Haley Wasserman
Benjamin Graham
Ana Reyes
John Villa
Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 65 of 68




                      EXHIBIT L
                 Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 66 of 68


Stewart, Craig E.

From:                              Stewart, Craig E.
Sent:                              Friday, July 30, 2021 4:51 PM
To:                                'Vejnoska, Christopher'
Subject:                           RE: Jones Day v.         Arbitration Summonses


Chris,

Thank you for your response. We do not believe any basis exists for your assertion that a motion to compel is not the
proper vehicle for initiating an action to compel compliance with a summons (whether issued in connection with an
arbitration or in connection with an action pending in another court). To the contrary, the regular practice in the
Northern District is to proceed by filing a motion to compel to initiate a miscellaneous case (without a separate petition
or complaint), and the Court’s filing system provides for such filings. See, e.g., In Re Subpoena Issued to Cisco Systems,
Inc., 5:10‐MC‐80144; In Re: Subpoenas to Intel Corp., in Connection with: Qualcomm Incorporated, 5:18‐MC‐80124;
Odeh v. Immunomedics, Inc., 3:21‐MC‐80105. But to avoid having to spend time litigating this question, Jones Day will
file a petition and summons along with its motion, while preserving all of its rights. Thank you for your agreement to
accept service on behalf of all Respondents of such papers.

We also do not believe there is any merit to your assertion that the court lacks subject‐matter jurisdiction or that Jones
Day conceded that point before the D.C. Superior Court. As set out in the papers you will receive, the court has subject‐
matter jurisdiction under 9 U.S.C. § 203 because the underlying arbitration is an international arbitration and, by virtue
of sections 206 and 208, an action to enforce an arbitration summons authorized by the FAA and by the parties’
agreements falls under Chapter 2 of the FAA. Jones Day did not brief this question before the D.C. Superior Court
because federal subject‐matter jurisdiction was not necessary to that action. The statement to which you refer in Jones
Day’s opposition memorandum was in reference to what Jones Day understood Orrick to be arguing and the provisions
on which Orrick was relying, which did not include any argument about Chapter 2 of the FAA or its provision giving
federal courts subject‐matter jurisdiction over international arbitration matters like this one.

Finally, we do not agree that Jones Day has engaged in any “delay.” We have proceeded expeditiously after learning on
July 15 that the Recipients would refuse to appear even for a hearing in California. The schedule we are proposing
advances the Recipients’ time for opposition by only two days.

Thanks.

          Craig E. Stewart
          Partner
          JONES DAY® - One Firm Worldwide®
          555 California St., 26th Floor
          San Francisco, CA 94104
          Office +1.415.875.5714
          Cell +1.925.262.7762
          cestewart@jonesday.com


From: Vejnoska, Christopher <cvejnoska@orrick.com>
Sent: Friday, July 30, 2021 11:21 AM
To: Stewart, Craig E. <cestewart@JonesDay.com>
Subject: RE: Jones Day v.        Arbitration Summonses

** External mail **

                                                             1
               Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 67 of 68

Craig,

As indicated in my letter, the summons is defective and does not compel the compliance of the
recipients under the Federal Arbitration Act. The recipients therefore did not appear for the hearing
scheduled on July 26. They likewise will not appear if the same summons were revised for a hearing
on September 13.

You write that Jones Day intends to file a “motion to compel.” I am not aware of any provision of the
Federal Rules of Civil Procedure or the Local Rules in the Northern District of California that permit
that approach. If Jones Day wants to seek relief from the court, it first would need to initiate an action
by filing a petition and following the usual rules for service. “There is one form of action—a civil
action,” which “is commenced by filing a complaint with the court.” Fed. R. Civ. P. 2-3. See also L.R.
7-1(b) (“Motions must be directed to the Judge to whom the action is assigned”).

You also ask whether Orrick will agree to an expedited briefing schedule. The answer is no, for at
least the following reasons:

First, as you admitted in your Opposition to Orrick’s Motion to Dismiss in D.C. Superior Court, there is
no subject-matter jurisdiction in the federal courts under the FAA and the parties are not diverse. See
Opposition 1 (“[T]he Federal Arbitration Act (‘FAA’) provisions to which Orrick points do not confer
subject-matter jurisdiction on the federal courts, and diversity does not exist between Orrick and
Jones Day.”). Orrick does not agree to yet another round of expensive briefing to establish what
Jones Day has already conceded. Moreover, we do not believe that Jones Day’s threatened suit
comports with its professional obligations, which require that its arguments be warranted by existing
law or a non-frivolous argument for modifying or establishing new law. See Fed. R. Civ. P. 11.

Second, we notified you that we would not appear at the July 26 hearing, and it has been our
consistent position that the subpoenas are not enforceable. Jones Day’s failure to act until now in
California, and the consequences of that delay, is a problem of its own making. Jones Day cannot
use its own delay to manufacture an “emergency” that justifies an expedited process.

Should you proceed with your suit, we reserve the right to bring to the Court’s attention the notice that
we have provided you of just some of the infirmities in your proposed conduct.

Finally, you asked late last night whether I would accept service on behalf of Orrick and the two
individual recipients. I cannot accept “service” of documents that are not authorized by the rules of
procedure. If Jones Day decides to comply with Federal Rules 2 through 4, I will accept service of
the summons and complaint by email on behalf of the recipients as if they were served personally at
our offices in San Francisco. However, attempting to serve motions without a pending civil action
brought in accordance with the Federal Rules – particularly in a matter where you have admitted that
federal jurisdiction does not exist – is unauthorized and abusive. I strongly urge you not to proceed in
this manner and I particularly urge you to refrain from attempting to deliver unauthorized documents
to the homes of individual attorneys.

Regards, Chris

From: Stewart, Craig E. <cestewart@JonesDay.com>
Sent: Thursday, July 29, 2021 2:39 PM
To: Vejnoska, Christopher <cvejnoska@orrick.com>
Subject: Jones Day v.        Arbitration Summonses

                                                     2
                      Case 4:21-mc-80181-JST Document 3-2 Filed 07/30/21 Page 68 of 68

Chris,

I represent Jones Day in connection with the arbitration summonses issued to Orrick, Michael Torpey, and Mitchell
Zuklie (the “Recipients”) on June 16, 2021. In your July 15, 2021 letter to Chris Thatch, you stated that the Recipients
would not appear at the hearing scheduled for July 26 in San Jose, California on the ground that the summonses exceed
the arbitrator’s authority under the Federal Arbitration Act by compelling attendance at a location other than the seat of
the arbitration in Washington D.C. Jones Day disagrees with the Recipients’ position and intends to file tomorrow in the
Northern District of California a motion to compel compliance with the summonses. The motion will seek an order
compelling the recipients to appear in San Francisco on September 13, which is the date the arbitrator has stated that he
is available to be in California. We will be requesting the arbitrator to issue revised summonses reflecting that date and
location. We will also seek the documents listed in Schedule A to the summonses.

Please let me know if the Recipients are willing to appear for the September 13 hearing. If the Recipients do not intend
to appear, Jones Day will proceed with its motion. Jones Day also intends to seek an expedited briefing and hearing
schedule, under which the Recipients’ opposition to the motion would be due on August 11, Jones Day’s reply would be
due on August 17, and the hearing would be held August 27. Could you please advise whether the Recipients are willing
to stipulate to that schedule?

I am available today and tomorrow to discuss.

Thank you

          Craig E. Stewart
          Partner
          JONES DAY® - One Firm Worldwide®
          555 California St., 26th Floor
          San Francisco, CA 94104
          Office +1.415.875.5714
          Cell +1.925.262.7762
          cestewart@jonesday.com

***This e‐mail (including any attachments) may contain information that is private, confidential, or protected by
attorney‐client or other privilege. If you received this e‐mail in error, please delete it from your system without copying
it and notify sender by reply e‐mail, so that our records can be corrected.***



NOTICE TO RECIPIENT | This e-mail is meant for only the intended recipient of the transmission, and may be a communication privileged by law. If you
received this e-mail in error, any review, use, dissemination, distribution, or copying of this e-mail is strictly prohibited. Please notify us immediately of
the error by return e-mail and please delete this message from your system. Thank you in advance for your cooperation.


For more information about Orrick, please visit http://www.orrick.com.


In the course of our business relationship, we may collect, store and transfer information about you. Please see our privacy policy at
https://www.orrick.com/Privacy-Policy to learn about how we use this information.




                                                                                3
